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                                                                              United States District Court
                                                                                Southern District of Texas

                                                                                   ENTERED
                                                                               September 14, 2017
                      IN THE UNITED STATES DISTRICT COURT
                                                                                David J. Bradley, Clerk
                      FOR THE SOUTHERN DISTRICT OF TEXAS
                               HOUSTON DIVISION

UNITED STATES OF AMERICA                       §
                                               §
                                               §
                                               §
VS.                                            §     CRIMINAL ACTION NO. H-10-258-2
                                               §
                                               §
                                               §
JAMES DAVID WRIGHT                             §

                                          ORDER

       The defendant James David Wright filed an unopposed motion for continuance of the

sentencing hearing, (Docket Entry No. 739). The motion for continuance is GRANTED. Wright’s

sentencing hearing is reset to March 8, 2018, at 9:00 a.m.

              SIGNED on September 14, 2017, at Houston, Texas.

                                                   ______________________________________
                                                            Lee H. Rosenthal
                                                      Chief United States District Judge
